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wEsTERN DIsTRIcT oF TENNESSEE .;;/:j:"‘/`n/
EASTERN DIVISION `

JUDGMENT IN A CIVIL CASE

 

EMMANUEL S. TROTTER,

Plaintiff,
VS. NO. 3.:04-CV-lO75-'I`/AN
SAMANTHA PHILLIPS; JAMES I-I.
SMI'I'H, M.D. AND CORRECTIONAL
MEDICAL SERVICES, INC.

Defendants.
[X] DECISION BY THE COURT. This action came to consideration
before the Court; the issues having been considered and a
decision has been rendered.
IT IS ORDERED AND ADJUDGED that in compliance with the Order
entered in the above styled matter on May 3, 2005, and the Order
entered on June 7, 2005, summary judgment is granted as to each

defendant and this matter is hereby DISMISSED.

APPROVED :

A-M

J S D. 'I`ODD
UNI'I`ED STATES DISTRICT JUDGE

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.1 erry O. Potter

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

1\/1emphis7 TN 38103

.1 ennifer R. Bailey

OFFICE OF THE ATTORNEY GENERAL
P.O. Box 20207

Nashville, TN 37202--020

Emmanuel S. Trotter
NWCC-TIPTONVILLE
121642

960 State Route 212
Tiptonville7 TN 38079

Stephen G. Smith

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

1\/1emphis7 TN 38103

Honorable .1 ames Todd
US DISTRICT COURT

